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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS

SYMBOLOGY INNOVATIONS LLC,                    )
                                              )
       Plaintiff,                             )   CASE NO. 1:18-cv-03433
                                              )
                                              )
       v.                                     )   Honorable Sara L. Ellis
                                              )
SCHUMACHER ELECTRIC                           )
CORPORATION,                                  )
                                              )
       Defendant.                             )


                                NOTICE OF DISMISSAL

       Under Federal Rule of Civil Procedure 41(a), Symbology Innovations LLC moves to

dismiss all claims by and between the parties WITH PREJUDICE, with each party bearing its own

attorneys’ fees and costs.

 Dated: August 23, 2018

                                                            /s/Eugenio J. Torres-Oyola
                                                               Eugenio J. Torres-Oyola
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                                                      ATTORNEYS FOR PLAINTIFF
                                                   SYMBOLOGY INNOVATIONS LLC




                           CERTIFICATE OF CONFERENCE

          The undersigned certifies that the parties have complied with the meet and confer

requirement and that all parties are in agreement to the relief requested in this unopposed motion.


                                                                       /s/Eugenio J. Torres-Oyola
                                                                          Eugenio J. Torres-Oyola




                              CERTIFICATE OF SERVICE

          I hereby certify that on August 24th, 2018, I electrically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification to all counsel of

record.


                                                                       /s/Eugenio J. Torres-Oyola
                                                                          Eugenio J. Torres-Oyola
